             Case 4:14-cv-02345 Document 151-1 Filed on 05/13/16 in TXSD Page 1 of 8

From:             cgrob@chimeraenergyusa.com
Sent:             Friday, February 3, 2012 7:35 PM
To:               Ashley Dillon <ashley@pennaluna.com>
Subject:          RE: Chimera deficiency
Attach:           FINRA Response-signed.pdf; Investor Introductions-signed.pdf; Chimera -Investor
                  Relationships - l.13.12.pdf; Chimera No Shell Cert Signed.pdf; Chimera-144 Cert
                  Signed.pdf


Hi Ashley,

Here are the documents pertaining to the deficiency. Please review and notify me if there should be any
changes.

Regards,

Charles Grob
Chimera Energy Corporation
President and CEO
2800 Post Oak Boulevard Ste 4100
Houston, TX 77056
Phone:(832) 390-2334
Fax:(832) 390-2350




                CHIMERA
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  -------- Original Message --------
  Subject: Chimera deficiency
  From: Ashley Dillon <ashley@pennaluna.com>
  Date: Thu, February 02, 2012 11:54 am
  To: "carob@chimeraenerQvusa.com" <c4rob@chimeraenerQvusa.com>

   Hi Charles,

   Attached is the deficiency for Chimera.

   Please let me know if you have any questions and I would be happy to answer them for you.

   Best,


  Ashley Dillon
  http://www.markidillon.com/
  Pennaluna and Company
  421 Sherman ave
  Coeur d 'Alene Id 83814




                                                     APP. 000651                     SEC-PC-E-0000299
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800 654 9929 or 1 208 667 7472
fax 1 2p8 664 2283

Attn; Mark Dillon




-----Original Message-----
From: Pennaluna & Co.
Sent: Thursday, February 02, 2012 9:38 AM
To: Ashley Dillon
Subject: New Scan

Here is a your freshly scanned document.
----------------------------------------------

Sent by the Kyocera FS-1128MFP printer/fax scanner




                                                 APP. 000652     SEC-PC-E-0000300
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      Case 4:14-cv-02345 Document 151-1 Filed on 05/13/16 in TXSD Page 5 of 8

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                 2800 POST OAK BLVD, SuiTE 4100      HOUSTON.TX         77056 (832)390-2334




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      Case 4:14-cv-02345 Document 151-1 Filed on 05/13/16 in TXSD Page 7 of 8

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                h. I{ntccrc~d ittt~> a s~~r(►licr a~;rcc:mcnc fir the n~lnuf:~crurc <>f the (.~>mrant-'s
                    inrr~xliiu~~n• rrncltict line;
                c. C~cncrura rc~•cnuc~ 1rc~rn 1}3c Jcli~~ctr- <►f ~rc,cluc:t~ t~> mii~h(~IG Gl►~~Om~is; and
                tl. l)c~r~~iccl .itmificant rese~urces tc~ kxatin~ and cnt.*.~nny ~x>Icutial custc~mcrs ►nr fbc
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                b. :~ccnunts r«~i~•ablt. - $'.),?Oi)
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w•hilc :u the same time: iii ~~~t~ts c~nn~>t I.x: c.~►nsidcrc~cl t~► be ncmiinal.

~nlCrLC~t'.



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                                                              APP. 000657                        SEC-PC-E-0000305
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1'c~nn~luna and C:om~am•
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(:c,cur d',llcnr. I1) ;i3~i1-~



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an~i cc7cif~~ that:

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   sh:~rc: ~~t the (:umExut~•'s cc~niti~uti stixk 1i>r ~11),Illitl: bi-cc>min~ nc~ Costtp:tn~'s solr sharrh~>lcicr.

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   t"~1:("j t~, rc}ri•~cr a,fltH},IIfNI .h:~r« ~>t~ its ~:nmmc~n st~►ck f~.~r salr to the puE~tic unskr a l)ircct
  Public Uffecin~. Such Re~ic~l~i~m tit::tcmcnt ~~ar• ar~►re>ri~ci fc~r c:ffrui~~cne.. b4 thr ti}:(: c,~t
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